Case 1:23-cv-23933-FAM Document 36-4 Entered on FLSD Docket 03/20/2024 Page 1 of 10




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                        :
    Sucesión Simon Diaz Marquez,                        :
                                                        :
            Plaintiff,                                  :
                                                        :   Civil Action No. 1:23-cv-23933-FAM
                            v.                          :
                                                        :
    Miami Fine Foods, LLC and Avi Assor,                :
                                                        :
            Defendants.                                 :
                                                        :
                                                        :

      PLAINTIFF’S FIRST SET INTERROGATORIES TO MIAMI FINE FOODS, LLC

          Pursuant to Federal Rule of Civil Procedure 33, Plaintiff, Sucesión Simon Diaz Marquez

   (“Plaintiff”) requests that Defendant, Miami Fine Foods, LLC provide responses to this First Set

   of Interrogatories in writing and under oath, within thirty (30) days of service hereof, in accordance

   with the definitions and instructions provided below.

                                             DEFINITIONS

   The following terms, as used herein, have the following meanings:

          1.       “Miami Fine Foods” means the named Defendant, Miami Fine Foods, LLC, and/or

   any individual or corporate name under which it is doing or has done business, and its affiliates,

   employees, agents, and attorneys.

          2.       “Assor” means the named Defendant, Avi Assor.

          3.       “You” or “Your” means the named Defendant Miami Fine Foods, LLC, and/or any

   individual or corporate name under which either is doing or has done business, and their affiliates,

   employees, agents, and attorneys.

          4.       “Plaintiff” means the named Plaintiff, Sucesión Simon Diaz Marquez.




                                                                                                3440401.v1
Case 1:23-cv-23933-FAM Document 36-4 Entered on FLSD Docket 03/20/2024 Page 2 of 10




          5.       “Tío Simón” means the famous Venezuelan musical artist, Simón Díaz Márquez.

          6.       “Person” or “Persons” includes, but is not limited to, any natural persons,

   companies, corporations, sole proprietorships, governmental entities, partnerships, associations,

   banks and other financial institutions, and all other entities similar to those listed above.

          7.       “Mark” means any word, name, symbol, design, shape, number, slogan, or device,

   or any combination thereof, that is used by a Person to identify and distinguish the Person’s goods

   or services from the goods or services of others.

          8.       “TIO SIMON Mark” means TIO SIMON mark as used by Plaintiff and as

   associated with Tío Simón.

          9.       “Infringing Mark” refers to the mark of U.S. Application Serial No. 97/030,729 and

   Your use of TIO SIMON.

          10.      “Communication” refers to any oral or written transmittal and/or receipt of words

   or information, and specifically includes without limitation conversations in person, telephone

   conversations, notes, or memoranda of any conversations, faxes, electronic mail, letters, reports,

   or memoranda, formal statements and press releases and media publications.

          11.      “Document” is defined to be synonymous in meaning and equal in scope to the

   usage of this term in Federal Rule of Civil Procedure 34(a). A draft or non-identical copy is a

   separate document within the meaning of this term.

          12.      “Concerning” means relating to, referring to, describing, evidencing, or

   constituting.

          13.      “Relate to,” “relating to,” “refer to,” and “referring to” any given subject matter

   shall mean, without limitation, any document that, in whole or in part, constitutes, comprises,




                                                       2
Case 1:23-cv-23933-FAM Document 36-4 Entered on FLSD Docket 03/20/2024 Page 3 of 10




   contains, reflects, identifies, concerns, or is in any other way relevant to the particular subject

   matter identified.

          14.      “Describe” or “State” means to set forth in full facts concerning the subject matter,

   including without limitation, the identity of all persons or all Communications, Documents, and

   meetings concerning the subject matter.

          15.      The terms “Identify” or Identity”:

                a. when used with respect to a person, means to state the person’s full name, a present

                   or former affiliation, if any, with You (including, but not limited to, the person’s

                   title(s), and the period of time each person held each title), and present or last-

                   known: (i) home and business address; (ii) employer or business affiliation; (iii) job

                   title; (iv) position or occupation; and (v) telephone or email address;

                b. when used with respect to a business, legal, or governmental entity or association,

                   means to state: (i) its name; (ii) its place of incorporation or organization; (iii) its

                   principal place of business; and (iv) the identity of all persons affiliated with the

                   corporation who have knowledge of the matter with respect to which it is named in

                   an interrogatory answer;

                c. when referring to a fact, means the fact and all documents, communications, and

                   persons that support that fact;

                d. when referring to a product or thing, means the title and version name/number, any

                   code or project name, or other name by which it has been referred, and a general

                   description of the product or thing;




                                                      3
Case 1:23-cv-23933-FAM Document 36-4 Entered on FLSD Docket 03/20/2024 Page 4 of 10




                e. when referring to a document, means to provide the (i) name of the document; (ii)

                   general subject matter; (iii) date of the document; and (iv) name of the author(s),

                   addressee(s) and recipient(s);

                f. when referring to a written communication, means to identify the document(s) in

                   which the communication was made the date of that communication; and

                g. when referring to an oral communication, means to identify the persons

                   participating in the communication and the date of that communication.

          16.      The connectives “and” and “or” shall be construed either disjunctively or

   conjunctively as necessary to bring within the scope of the interrogatory all responses.

          17.      The use of the singular form of any word includes the plural and vice versa.

          18.      Each paragraph herein shall be construed independently and not by reference to any

   other paragraph for the purposes of limitation.

                                           INSTRUCTIONS

          19.      In answering the following interrogatories, furnish all available information,

   including information in the possession, custody, or control of any of Your attorneys, agents,

   employees, representatives, associates, investigators or division affiliates, partnerships, and

   persons under Your control.

          20.      If You cannot fully respond to the following interrogatories after exercising due

   diligence to secure the information requested thereby, so state, and answer each such interrogatory

   to the fullest extent You deem possible, specific the portion of each interrogatory that You claim

   to be unable to answer fully, and completely state the facts upon which You rely to support Your

   contention that You are unable to answer the interrogatory fully and completely, and state what




                                                     4
Case 1:23-cv-23933-FAM Document 36-4 Entered on FLSD Docket 03/20/2024 Page 5 of 10




   knowledge, information or belief You have concerning the unanswered portion of each such

   interrogatory.

          21.       If You object to any portion or aspect of any interrogatory, provide all information

   responsive to the portion to which You do not object.

          22.       If You are producing documents in connection with these interrogatories, electronic

   records and computerized information must be produced in native form or as TIF single-page

   images with OCR, with all metadata. Any such information must be produced in an intelligible

   format, together with a description of the system from which they were derived sufficient to permit

   rendering the documents and information intelligible. Pursuant to Federal Rule of Civil Procedure

   34(b)(1)(C), any documents which are ordinarily maintained in Microsoft Excel or any other

   spreadsheet program must be produced in native format.

          23.       If Your response to a particular interrogatory is a statement that you lack the ability

   to understand a word or phrase in the interrogatory, please use the common and reasonable

   interpretation of the word or phrase and explain your interpretation of the word or phrase.

          24.       If You contend certain interrogatories require disclosure of trade secrets or other

   confidential research, development, or commercial information, please mark them as such or as

   required by any protective order that may be entered in this action.

          25.       Your obligation to respond to these interrogatories is continuing and Your

   responses are to be supplemented to include subsequently acquired information in accordance with

   the requirements of Federal Rule of Civil Procedure 26(e).




                                                      5
Case 1:23-cv-23933-FAM Document 36-4 Entered on FLSD Docket 03/20/2024 Page 6 of 10




                                          INTERROGATORIES

   INTERROGATORY NO. 1:

           Identify and describe all goods and services You offer or have offered in connection with

   the Infringing Mark in the United States, including as of the date of filing of Application Serial

   No. 97/030,729.

   INTERROGATORY NO. 2:

           Identify and describe all goods and services You offer or have offered in connection with

   the Infringing Mark in the United States, including as of September 1, 2016 (the date of first use

   claimed in the application for Application Serial No. 97/030,729).

   INTERROGATORY NO. 3:

           Describe how the Infringing Mark is used in the promotion of each of the goods of

   Application Serial No. 97/030,729 in the United States, including as of the date of filing of

   Application Serial No. 97/030,729.

   INTERROGATORY NO. 4:

           Describe any basis for Your claim that You used the Infringing Mark in commerce in the

   United States in connection with all the goods of Application Serial No. 97/030,729 as of the

   application filing date, including, without limitation, all legal theories and doctrines, all facts which

   support such contentions, and the identity of each Person(s) with knowledge of such facts.

   INTERROGATORY NO. 5:

           Describe in detail Your selection of the Infringing Mark, including, without limitation, the

   reason the Infringing Mark was selected to identify Your goods and services (e.g., the meaning

   and impression You sought to convey to consumers with the Infringing Mark), and the Person(s)

   involved in the selection and adoption of the Infringing Mark.



                                                      6
Case 1:23-cv-23933-FAM Document 36-4 Entered on FLSD Docket 03/20/2024 Page 7 of 10




   INTERROGATORY NO. 6:

            Describe in detail the channels of trade and how You purportedly offer each of Your goods

   and services in connection with the Infringing Mark.

   INTERROGATORY NO. 7:

            Describe in detail the class and communities of consumers to which You have marketed,

   distributed, or sold each of Your goods and services in connection with the Infringing Mark.

   INTERROGATORY NO. 8:

            Describe the date and circumstances of You first becoming aware of Plaintiff, the TIO

   SIMON Mark, and Tío Simón.

   INTERROGATORY NO. 9:

            Describe in detail Your familiarity with Tío Simón, including but not limited to, his fame

   in the United States and within Venezuelan populations, his well-known image riding a donkey or

   horse with a traditional Venezuelan hat, and his influence as a famous Venezuelan music icon.

   INTERROGATORY NO. 10:

            Describe any basis for Your assertion that “Plaintiff does not have any protectable rights

   in the phrase ‘TIO SIMON’” including, without limitation, all legal theories and doctrines, all facts

   which support such contentions, and the identity of each Person(s) with knowledge of such facts.

   INTERROGATORY NO. 11:

            Describe any basis for Your assertion that “Plaintiff lacks priority to the phrase ‘TIO

   SIMON’ in the United States” including, without limitation, all legal theories and doctrines, all

   facts which support such contentions, and the identity of each Person(s) with knowledge of such

   facts.

   INTERROGATORY NO. 12:



                                                    7
Case 1:23-cv-23933-FAM Document 36-4 Entered on FLSD Docket 03/20/2024 Page 8 of 10




            Identify and describe each instance of which You are aware in which any person has been

   in any way confused, mistaken, or deceived as to the origin, sponsorship or affiliation of any goods

   or services sold, provided, or offered for sale under or in connection with the Infringing Mark and

   Plaintiff, Tío Simón, Tío Simón’s estate, or the TIO SIMON Mark.

   INTERROGATORY NO. 13:

            Describe each instance in which any Person has challenged the Infringing Mark and/or

   Your right to use such mark (including, for each, the identity of the Person(s) or entities involved,

   the date on which the incident occurred, the manner or forum in which the challenge, objection, or

   question was raised, how the issue was resolved, and all Person(s) with knowledge of the incident).

   INTERROGATORY NO. 14:

            Identify all Person(s) whom You have authorized, licensed, or otherwise permitted to use

   the Infringing Mark in the United States. For each, provide the dates of such authorization and

   details regarding the terms of such agreement.

   INTERROGATORY NO. 15:

            Identify Your quarterly and annual sales, revenue, profit and expenses for Your goods and

   services offered in connection with the Infringing Mark, for each year since inception, in the

   United States.

   INTERROGATORY NO. 16:

            Describe any basis for Your assertions that one or more of Plaintiff’s counts are barred by

   laches, estoppel, or acquiescence, including, without limitation, all legal theories and doctrines, all

   facts which support such contentions, and the identity of each Person(s) with knowledge of such

   facts.

   INTERROGATORY NO. 17:



                                                     8
Case 1:23-cv-23933-FAM Document 36-4 Entered on FLSD Docket 03/20/2024 Page 9 of 10




          Identify each Person who prepared, who assisted in the preparation of, or who provided

   information for the answers to these Interrogatories, stating each interrogatory which each such

   individual prepared, assisted in the preparation of, or provided information for the answer.


   Dated: West Palm Beach, FL
        January 10, 2024
                                                   By: /s/Ben Natter/          .
                                                       Ben Natter
                                                       Fla. Bar No. 1050054
                                                       HAUG PARTNERS LLP
                                                       777 South Flagler Drive
                                                       Suite 1000, East Tower
                                                       West Palm Beach, FL 33401
                                                       Tel: (561) 489-4600
                                                       bnatter@haugpartners.com

                                                        Michael Barer (Admitted Pro Hac Vice)
                                                        HAUG PARTNERS LLP
                                                        745 Fifth Avenue
                                                        New York, New York 10151
                                                        Tel: (212) 588-0800
                                                        mbarer@haugpartners.com

                                                        Attorneys for Plaintiff




                                                    9
Case 1:23-cv-23933-FAM Document 36-4 Entered on FLSD Docket 03/20/2024 Page 10 of 10




                                    CERTIFICATE OF SERVICE

           I hereby certify that on this 10th day of January, 2024, I caused a true and correct copy of

    the foregoing Plaintiff’s First Set of Interrogatories to Miami Fine Foods, LLC to be served

    via e-mail upon Defendants’ counsel of record at the following email addresses.

           Jaime Rich Vining
           FRIEDLAND VINING, P.A.
           9100 S. Dadeland Blvd.
           Suite 1620
           Miami, FL 33156
           305-777-1721
           Email: jaime.vining@friedlandvining.com; jrv@friedlandvining.com

                                                                       /s/Michael Barer/        .
                                                                        Michael Barer
